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                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW JERSEY

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                                             and

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Case 21-30589-MBK         Doc 911       Filed 12/20/21 Entered 12/20/21 10:27:13           Desc Main
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Tel: (713) 715-1666                              Committee of Talc Claimants
Proposed Special Counsel to the Official
Committee of Talc Claimants


                                                    Chapter 11

In re:                                              Case No.: 21-30589(MBK)

LTL MANAGEMENT, LLC,                                Honorable Michael B. Kaplan

                               Debtor.

LTL MANAGEMENT, LLC,
Plaintiff,                                          Adv. No.: 21-03032(MBK)
vs.
THOSE PARTIES LISTED ON APPENDIX
A TO COMPLAINT and JOHN AND JANE
DOES 1-1000,
Defendants.

                                      CERTIFICATION OF SERVICE

1. I, Lorrie L. Denson:

         ☐ represent                                        in this matter.

         X am the secretary/paralegal for Daniel M. Stolz, who represents
         The Official Committee of Talc Claimants          in this matter.

         ☐ am the                               in this case and am representing myself.



2.       On December 3, 2021, I sent a copy of the following pleadings and/or documents to the parties
         listed in the chart below.
         Subpoena to Testify at a Deposition in a Bankruptcy Case (or Adversary Proceeding) -
         Document Production.
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3.      I certify under penalty of perjury that the above documents were sent using the mode of service
        indicated.

Date:   December 20,                                /s/ Lorrie L. Denson
2021                                                Signature
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 Name and Address of Party Served            Relationship of                      Mode of Service
                                            Party to the Case
                                         Via: UPS and regular mail   ☐ Hand-delivered
Purple Strategies LLC                    on 12/3/2021; via
Attn: Records Custodian                  Guaranteed Subpoena on      X Regular mail
815 Slaters Ln                           12/7/2021                   ☐ Certified mail/RR
Alexandria, VA 22314
                                                                     X Other UPS and Guaranteed Subpoena
                                                                        (As authorized by the Court or by rule. Cite
                                                                     the rule if applicable.)

PricewaterhouseCoopers                   Via: UPS and regular mail   ☐ Hand-delivered
Attn: Records Custodian                  on 12/3/2021; via
400 Campus Drive                         Guaranteed Subpoena on      X Regular mail
Florham Park, NJ 07932                   12/6/2021                   ☐ Certified mail/RR
                                                                     X Other UPS and Guaranteed Subpoena
                                                                        (As authorized by the Court or by rule. Cite
                                                                     the rule if applicable.)

Gregory M. Gordon, Esq.                  Counsel for Debtor          ☐ Hand-delivered
JONES DAY                                Via email on 12/3/2021
2727 North Harwood Street                Via UPS and regular mail    X Regular mail
Suite 500                                on 12/8/2021                ☐ Certified mail/RR
Dallas, TX 75201
                                                                     X Other UPS and email
                                                                        (As authorized by the Court or by rule. Cite
                                                                     the rule if applicable.)

James N. Lawlor, Esq.                    Counsel for Debtor          ☐ Hand-delivered
Wollmuth Maher & Deutsch, LLP            Via email on 12/3/2021
500 Fifth Avenue, 12th Floor             Via UPS and regular mail    X Regular mail
New York, New York 10110                 on 12/8/2021                ☐ Certified mail/RR
                                                                     X Other UPS and email
                                                                        (As authorized by the Court or by rule. Cite
                                                                     the rule if applicable.)


                                                                     ☐ Hand-delivered
                                                                     X Regular mail
                                                                     ☐ Certified mail/RR
                                                                     X Other UPS
                                                                        (As authorized by the Court or by rule. Cite
                                                                     the rule if applicable.)




                                                 2
DocuSign Envelope ID: DA993EA5-16F1-44C1-A6AA-9BFD691123BB
              Case 21-30589-MBK                         Doc 911           Filed 12/20/21 Entered 12/20/21 10:27:13                                           Desc Main
 AO 88 (11/91) Subpoena in a Civil Case                                  PROOF OF SERVICE
                                                                        Document      Page 5 of 32
                                      DATE:                                      PLACE:                                                               20211206135004
           SERVED                     12/6/2021 3:10 PM                          400 CAMPUS DRIVE                FLORHAM PARK NJ 07932


 SERVED ON: PRICEWATERHOUSECOOPERS, ATTN:                                                         MANNER OF SERVICE: RULE 45, FEDERAL CIVIL RULE
 RECORDS CUSTODIAN                                                                                SERVING: LETTER, SUBPOENA TO TESTIFY, EXHIBIT,
 ACCEPTED BY: KYDRIQUE MCCRAY                                                                     CERTIFICATION, DECLARATION, ATTACHMENTS
 RELATIONSHIP/TITLE: PERSON AUTHORIZED TO ACCEPT
 SERVICE
 SERVED BY                                                                                        TITLE
                                  NICHOLAS CIULLO                                                                                  PROCESS SERVER


                                                                             DECLARATION OF SERVER


 Description of Person Receiving Document(s):

 SEX:M         AGE: 21-35 HEIGHT: 5'4"-5'8"                     WEIGHT:                                SKIN:BLACK                  HAIR: BLACK             OTHER:

                        [X] To the best of my knowledge, said person was not engaged in the U.S. Military at the time of service.
              I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in
                                                     this Certification of Service is true and correct.
                                                                        Docusign Court Approved E-Signature
                                                                  \dsASign\
                                                                   _______________________________ L.S.

                                                                     SIGNATURE OF NICHOLAS CIULLO
                                                                   GUARANTEED SUBPOENA SERVICE, INC.
                                                                          2009 MORRIS AVENUE
                                                                             UNION, NJ 07083


 EXECUTED ON:             12/6/2021 3:10 PM

 ATTORNEY:                DANIEL M. STOLZ, ESQ.
 PLAINTIFF:               LTL MANAGEMENT LLC
 DEFENDANT:               THOSE PARTIES LISTED ON APPENDIX A TO COMPLAINT AND JOHN AND JANE
 VENUE:                   DOES 1-1000
 DOCKET:                  DISTRICT
 FEE:                     21 30589 MBK
                          $55.00


 Rule 45, Federal Rules of Civil Procedure, Parts C & D:                                              except that, subject to the provisions of clause (c)(3)(B)(iii) of this rule, such a person
                                                                                                      may in order to attend trial be commanded to travel from any such place within the state
 (c) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS                                                       inwhich the trial is held, or
  (1) A party or an attorney responsible for the issuance and service of a subpoena shall take          (iii) requires disclosure of privileged or other protected matter and no exception or
 reasonable steps to avoid imposing undue burden or expense on a person subject to that               waiver applies, or
 subpoena. The court on behalf of which the subpoena was issued shall enforce this duty and             (iv) subjects a person to undue burden.
 impose upon the party or attorney in breach of this duty an appropriate sanction, which may
 include, but not limited to, lost earnings and a reasonable attorney's fee.                          (B) If a subpoena
  (2)(A) A person commanded to produce and permit inspection and copying of designated                 (i) requires disclosure of a trade secret or other confidential research, development, or
 books, papers, documents or tangible things, or inspection of premises need not appear in            commercial information, or
 person at the place of production or inspection unless commanded to appear for deposition,            (ii) requires disclosure of an unretained expert's opinion or information not describing
 hearing or trial.                                                                                    specific events of occurrences in dispute and resulting from the expert's study made not
  (B) Subject to paragraph (d)(2) of this rule, person commanded to produce and permit                at the request of any party, or
 inspection and copying may, within 14 days after service of the subpoena or before the time           (iii) requires a person who is not a party or an officer of a party to incur substantial
 specified for compliance if such time is less than 14 days after service, serve upon the party       expense to travel more than 100 miles to attend trial, the court may, to protect a person
 or attorney designated in the subpoena written objection to inspection or copying of any or all      subject to or affected by the subpoena, quash or modify the subpoena or, if the party in
 of the designated materials or of the premises. If objection is made, the party serving the          whose behalf the subpoena is issued shows a substantial need for the testimony or
 subpoena shall not be entitled to inspect and copy the materials or inspect the premises             material that cannot be otherwise met without undue hardship and assure that the
 except pursuant to an order of the court by which the subpoena was issued. If objection has          person to whom the subpoena is addressed will be reasonably compensated, the court
 been made, the party serving the subpoena may, upon notice to the person commanded to                may order appearance or production only upon specified conditions.
 produce, move at any time for an order to compel the production. Such an order to compel
 production shall protect any person who is not a party or an officer of a party from significant     (d) DUTIES IN RESPONDING TO SUBPOENA.
 expense resulting from the inspection and copying commanded.                                          (1) A person responding to a subpoena to produce documents shall produce them as
  (3)(A) On timely motion, the court by which a subpoena was issued shall quash or modify the         they are kept in the usual course of business or shall organize and label them to
 subpoena if it                                                                                       correspond with the categories in the demand.
  (i) fails to allow reasonable time for compliance;                                                   (2) When information subject to a subpoena is withheld on a claim that it is privileged
  (ii) requires a person who is not a party or an officer of a party to travel to a place more than   or subject to protection as trial preparation materials, the claim shall be made expressly
 100 miles from the place where that person resides, is employed or regularly transacts               and shall be supported by a description of the nature of the documents,
 business in person,                                                                                  communications, or things not produced that is sufficient to enable the demanding party
                                                                                                      to contest the claim.
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            Case 21-30589-MBK                    Doc 911         Filed 12/20/21 Entered 12/20/21 10:27:13                         Desc Main
B256 (Form 256 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/13)
                                                               Document      Page 7 of 32
                                       UNITED STATES BANKRUPTCY COURT
                                                                      District of New Jersey
In re LTL MANAGEMENT LLC
                                     Debtor
                                                                                      Case No. 21-30589 (MBK)
          (Complete if issued in an adversary proceeding)
                                                                                      Chapter 11
 LTL MANAGEMENT LLC
                                    Plaintiff
                      v.                                                              Adv. Proc. No. 21-03032 (MBK)
THOSE PARTIES LISTED ON APPENDIX A TO
COMPLAINT and JOHN AND JANE DOES 1-1000
                                   Defendant

                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: PricewaterhouseCoopers, Attn: Records Custodian, 400 Campus Drive, Florham Park, NJ 07932
                                          (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:

  PLACE               Bailey & Glasser LLP                                                                   DATE AND TIME:
                      923 Haddonfield Road, Suite 300,                                                       December 17, 2021 at 4:00 p.m.
                      Cherry Hill, 08002
  The deposition will be recorded by this method:


   ☒Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
  See Attached Exhibit A
       The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: 12/3/2021
                                     CLERK OF COURT

                                                                                      OR       /s/ Daniel M. Solz
                                     Signature of Clerk or Deputy Clerk                            Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
  Official Committee of Talc Claimants for LTL Management, LLC , who issues or requests this subpoena, are:
 Daniel M. Stolz, Esq., Genova Burns LLC, 110 Allen Road, Suite 304, Basking Ridge, NJ 07920, (973) 230-2095,
  dstolz@genovaburns.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B256 (Form 256 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)
                                                             Document      Page 8 of 32

                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): PricewaterhouseCoopers, Attn: Records Custodian
on (date) 12/3/2021 .

 X I served the subpoena by delivering a copy to the named person as follows: by UPS and regular mail

                                                        on (date) 12/3/2021                         ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                .

 My fees are $                    for travel and $                    for services, for a total of $                  .



          I declare under penalty of perjury that this information is true and correct.

Date: 12/3/2021
                                                                                     /s/ Daniel M. Stolz
                                                                                                               Server’s signature

                                                                                      Daniel M. Stolz, Esq., local counsel for Official
                                                                                     Committee of Talc Claimants for LTL Management LLC
                                                                                                              Printed name and title


                                                                                     Genova Burns LLC
                                                                                     110 Allen Road, Suite 304
                                                                                     Basking Ridge, NJ 07920
                                                                                                                Server’s address


Additional information concerning attempted service, etc.:
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B256 (Form 256 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                               Exhibit A

    Pursuant to Rule 45 of the Federal Rules of Civil Procedure, made applicable to this contested

 matter by Rule 9016 of the Federal Rules of Bankruptcy Procedure, the Official Committee of

 Talc Claimants, by its proposed counsel, hereby requests the production of the specified documents

 below by electronic means to Bailey & Glasser LLP, 923 Haddonfield Road, Suite 300, Cherry

 Hill, NJ 08002, attention: Katherine E. Charonko, Esq., kcharonko@baileyglasser.com.

    All documents produced in response to this subpoena should be produced in native file format.

 If You determine that You cannot comply with the production of documents in a native file format,

 You shall promptly inform the requesting party why compliance is impracticable and meet and

 confer to establish a reasonably useable format for production.


                                           DEFINITIONS

        1.      The “First Day Declaration” shall refer to the Declaration of John K. Kim in

 Support of First Day Pleadings, dated October 14, 2021, filed in the main bankruptcy case as Dkt.

 No. 5 and included with these requests.

        2.      “You,” “Your,” and “Yours” shall refer to the entity to whom this subpoena is

 directed as well as the entity’s present and former parents, subsidiaries, affiliates, directors,

 officers, members, managers, employees, agents, attorneys and representatives, and every other

 person acting on their behalf.

        3.      “Debtor” shall refer to LTL Management LLC, the debtor in this case.

        4.      “Identified Custodians” are those persons identified as custodians for the purpose

 of conducting searches of documents requested herein and listed in the attached Document

 Custodian List.
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        5.      Unless otherwise defined herein, capitalized terms shall have the meanings ascribed

 to them in the First Day Declaration, except that any capitalized term in the First Day Declaration

 referring to an entity, here, shall also mean that entity’s present and former parents, subsidiaries,

 affiliates, directors, officers, members, managers, employees, agents, attorneys and

 representatives, and every other person acting on their behalf.

        6.      The term “document” is defined to be synonymous in meaning and equal in scope

 to the usage of the term “documents or electronically stored information” in Fed. R. Civ. P.

 34(a)(1)(A), and includes without limitation electronic data, electronic databases, electronic

 media, the original and any draft, version or copy which differs in any way from the original of

 any written or graphic matter, however produced or reproduced, of any kind or description,

 whether sent or received (or neither), and it shall include, without limitation, any paper, book,

 account, minutes, photograph, agreement, contract, memorandum, advertising material, letter,

 e-mail (or other electronic communication), any written, printed, typed, photostatic, photographed,

 recorded, computer-generated, computer-stored, or otherwise maintained or reproduced

 communication or representation, any database or data compilation in any form, whether

 comprised of letters, words, numbers, pictures, sounds, bytes, e-mails, electronic signals or

 impulses, electronic data, active files, deleted files, file fragments, or any combination thereof

 including, without limitation, all memoranda, notes, records, letters, envelopes, emails,

 voicemails, telegrams, messages, studies, analyses, contracts, agreements, projections, estimates,

 working papers, accounts, analytical records, reports and/or summaries of investigations, opinions

 or reports of consultants, opinions or reports of experts, opinions or reports of accountants, other

 reports, trade letters, press releases, comparisons, books, diaries, articles, magazines, newspapers,

 booklets, brochures, pamphlets, circulars, bulletins, notices, forecasts, drawings, diagrams,
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 instructions, minutes or meetings, correspondence, and communications of any type (including,

 but not limited to, video files, audio files, inter- and intra-office communications), questionnaires,

 surveys, charts, graphs, photographs, phonographs, films, webcasts, presentations (e.g. Microsoft

 PowerPoint), tapes, discs, data cells, drums, printouts, all other compiled data which can be

 obtained (translated, if necessary, through intermediary or other devices into useable forms),

 documents maintained on, stored in or generated on any electronic transfer or storage system, any

 preliminary versions, drafts or revisions of any of the foregoing, electronically stored information

 (of any kind), object, report, record, summary accounting, transcript, study, notation, working

 paper, interoffice or intraoffice communication, charts or minutes, index sheet, computer software,

 check, check stub, ledger entry, delivery ticket, bill of sale, invoice, recording of telephone or other

 conversations (or of interviews or conferences), or any written, recorded, transcribed, punched,

 taped, filmed or other graphic matter or data compilations, however produced or reproduced, to

 which the Debtor has access or of which the Debtor is aware .and other writings or documents of

 whatever description or kind, whether produced or authorized by or on behalf of Debtor or anyone

 else, and shall include all non-identical copies and drafts of any of the foregoing now in the

 possession, custody or control of Debtor, or the former or present directors, offices, counsel,

 agents, employees, partners, consultants, principals, and /or persons acting on Debtor behalf.

         7.      The term “all documents” means every document, whether an original or copy,

 known to you or which you can locate or discover by reasonably diligent effort, within your

 custody, possession or control, or the custody, possession or control of your present or former

 attorneys, accountants, insurance carriers, representatives, employees and/or agents.

         8.      The term “communication” means the transmittal of information (in the form of

 facts, ideas, inquiries or otherwise) including but not limited to any oral or written transmittal
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 and/or receipt of facts, information, thoughts, inquiries, opinions, including, without limitation,

 meetings, conversations in person, telephone conversations, records of conversations or messages,

 telegrams, telexes, facsimile transmissions, electronic mail transmissions, letters, reports,

 memoranda, formal statements and press releases, and newspaper stories. References to

 communications with business entities shall be deemed to include all officers, directors,

 employees, agents, attorneys, accountants, consultants, independent contractors, or other

 representatives of such entities.

        9.        The term “all communications” shall mean each and every communication,

 whether an original or copy, known to you or which you can locate or discover by reasonably

 diligent effort, within your custody, possession or control, or the custody, possession or control of

 your present or former attorneys, accountants, insurance carriers, representatives, employees

 and/or agents.

        10.       The term “electronic data,” “electronic database,” “database” and “data” mean the

 original (native electronic format) and any non-identical copies (whether non-identical because of

 notes made on copies or attached comments, annotations, marks, transmission notations, or

 highlighting of any kind) of writings of every kind and description whether inscribed by

 mechanical, facsimile, electronic, magnetic, digital, or other means. Such terms include, by way

 of example only, computer programs (whether private, commercial or works-in-progress),

 programming notes or instructions, activity listings or electronic mail receipts and /or transmittals,

 output resulting from the use of any software program, including word processing documents,

 spreadsheets, database files, charts, graphs and outlines, electronic mail, operating systems, source

 code of all types, peripheral drivers, PID files, batch files, ASCII files, and any and all

 miscellaneous files and/or file fragments, regardless of the media or which they reside and
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 regardless of whether said electronic data consists of an active file, deleted file or file fragment.

 Such terms include any and all items stored on computer memories, hard disks, floppy disks, CD-

 ROMS, removable media such as zip drives, USB drives, storage cartridges, Bernoulli Boxes and

 their equivalent, magnetic tapes of all types, microfiche, punched cards, punched tape, computer

 chips, including, but not limited to, EPROM, PROM, RAM and ROM, on or in any other vehicle

 for digital data storage and/or transmittal. Such terms also include the file, folder tabs and/or

 containers and labels appended to, or associated with, any physical storage device associated with

 each original and/or copy.

        11.     The term “electronic media” means any magnetic or other storage media device

 used to record electronic data. Electronic media devices may include computer memories, hard

 disks, floppy disks, CD-ROM, removable media such as Bernoulli Boxes and their equivalent,

 magnetic tapes of all types, microfiche, punched cards, punched tape, computer chips, including,

 but not limited to, EPROM, PROM, RAM and ROM, or on or in any other vehicle for digital data

 storage and /or transmittal.

        12.     The term “native electronic format” shall mean and refer the state of an electronic

 file as it presently exists on any and all computers, electronic media devices and networks or any

 other location where data may be stored (including back-up servers, deleted folders, hidden

 folders, etc.), with all of the file’s original metadata intact, meaning that the metadata fields have

 not been altered, deleted, updated or modified in any way.

        13.     The term “network” means any hardware and /or software combination that

 connects two or more computers together and which allows the computers to share and/or transfer

 data between them. For the purposes of this definition, the connection between or among the

 computers need not be either physical or direct, i.e., wireless networks, and sharing and/or
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 transferring data via indirect routs utilizing modems and phone company facilities. In addition,

 there need not be a central file or data server nor a central network operating system in place, i.e.

 peer-to-peer networks and networks utilizing a mainframe host to facilitate data transfer.

        14.     The term “computer” means all devices utilizing microchips to facilitate

 processing, analysis or storage of data, including microcomputers (as known as personal

 computers), laptop computers, portable computers, notebook computers, palmtop computers (as

 known as personal digital assistants or PDA’s), minicomputers and mainframe computers.

 “computer system,” when used in reference to any computer, includes the following information:

 (a) the computer type, brand, and model, and (b) the brand and version of all software, including

 the operating system, private- and custom-developed applications, commercial applications and/or

 shareware.

        15.     The terms “concern” or “concerning” shall mean refer to, allude to, related to,

 connected with, in respect of, about, regarding, discussing, showing, evidencing, describing, in

 support of, in substitution of, reflecting, and analyzing.

        16.     The term “person” is defined as any natural person or any legal entity, including,

 without limitation, any business or governmental entity or association, a group of natural persons

 acting in a collegial capacity (e.g., as a committee, board of directors), an entity, including without

 limitations sole proprietorship, firm, association, company, partnership, joint venture corporation

 or division or subsidiary thereof, trust, estate, and other incorporated or unincorporated business.

        17.     The “2021 Corporate Restructuring” shall refer, individually and collectively, to

 the series of corporate or company transactions and filings, whenever they occurred, that

 culminated in the formation, capitalization and/or re-domiciling of the Debtor and New JJCI on or

 about October 12, 2021, involving all entities and transactions that resulted in the division of
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 Chenango Zero LLC (“Chenango Zero”) into the Debtor and New JJCI as described in Section II

 of the First Day Declaration.

          18.   The “Closing Binder” shall refer to the final, compiled record (in whatever form)

 of the fully-executed transaction documents delivered to the parties in connection with the 2021

 Corporate Restructuring.

          19.   “Financial statements” means such records that reflect the financial performance of

 an entity during a particular time period and/or as of a particular date, as the context requires, and

 include, but are not limited to, the consolidated and consolidating balance sheet, income statement

 and statement of cash flow, along with associated notes, footnotes, exceptions or management

 discussion and analysis.

          20.   “Working Papers” shall have the meaning ascribed to it in AU Section 339A.

          21.   Plural words include the singular equivalent, and singular words include the plural

 equivalent.

          22.   The term “and” includes the disjunctive “or,” and “or” includes the conjunction

 "and."
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                                          INSTRUCTIONS

           1.     If a claim of privilege is asserted in any objection to any document request or

 portion thereof, and documents are withheld on the basis of that assertion of privilege, the objection

 shall comply with Local Bankruptcy Rule 7026-1 and, in addition, identify:

                a.       the nature of the privilege being claimed and, if the privilege is being

                         asserted in connection with a claim or defense governed by state law, the

                         state’s privilege rule being invoked; and

                b.        (i) the type of document; (ii) the general subject matter of the document;

                         (iii) the date of the document; and (iv) such other information as is sufficient

                         to identify the document for a subpoena duces tecum, including, where

                         appropriate, the author of the document, the addressee of the document, and,

                         where not apparent, the relationship of the author to the addressee, and the

                         names of all entities that received a copy of the document.

           2.     A request for a document shall be deemed to include a request for all transmittal

 sheets, cover letters, transmittal emails, exhibits, enclosures and attachments to the document, in

 addition to the document itself.

           3.     A request for a document shall be deemed to include a request for all drafts,

 revisions, modifications, versions and supplements thereof, in addition to the original document

 itself.

           4.     The masculine or feminine gender of any word shall be construed to include the

 masculine, feminine and neuter genders.

           5.     The past tense of any verb shall embrace and be applied as the present tense, or the

 context requires or as applicable, and vice versa.
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        6.      Each request is to be construed and considered to act independently, and is not to

 be referenced to any other request for purposes of limitation.

        7.      These requests are intended to cover all documents (including, without limitation

 electronically stored information), wherever located, in your possession, custody or control,

 including, without limitation, all documents in the personal possession of any agent, attorney,

 servant, employee, officer, director, affiliate, subsidiary, corporate parent, expert and other

 representative of yours, and any other person or entity from which you may obtain documents.

                                 REQUESTS FOR PRODUCTION
        1.      All documents and communications between you and any Identified Custodian

 concerning the 2021 Corporate Restructuring.

        2.      Any engagement letter or drafts of engagement letters associated with the 2021

 Corporate Restructuring.

        3.      All Working Papers concerning the 2021 Corporate Restructuring.

        4.      Any workflow lists, task lists or closing checklists generated or received in

 connection with the 2021 Corporate Restructuring and all communications related thereto.

        5.      From January 1, 2020 to the present, Financial Statements for Old JJCI.

        6.      Financial Statements for Old JJCI as of the end of each of the 2018, 2019, and 2020

 fiscal years, and as of the end of each quarter (or any stub period therein) during the first three

 quarters of fiscal year 2021.

        7.      Financial Statements for Chenango Zero.

        8.      Financial Statements for each of Chenango One and Chenango Two.

        9.      Financial Statements for Currahee.

        10.     Financial Statements for Royalty A&M.

        11.     Financial Statements for New JJCI.
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        12.     All documents concerning any valuation, whether formal or informal, external or

 internal, performed with respect to the Debtor, New JJCI, or any portion of either’s assets or

 liabilities, including, but not limited to, the valuation itself and any pro forma projections or

 budgets for those entities, any work papers or communications existing in connection with any

 valuation work concerning those entities.

        13.     From and after January 1, 2018, any valuations or assessments of liabilities,

 reserves, or accruals, for talcum powder related claims, costs or liabilities, prepared in connection

 with J&J’s consolidated financial reporting, and all communications concerning any such

 valuations or assessments, reserves or accruals.

        14.     All documents concerning any valuation, whether formal or informal, of any

 royalties assigned to or acquired by Royalty A&M, including, without limitation, any pro forma

 projections or budgets used in the valuation, any work papers or communications existing in

 connection therewith.

        15.     Any engagement letters or services agreements between You, on the one hand, and

 Debtor or any J&J entity, on the other, and any exhibits, schedules, amendments or modifications

 thereto.

        16.     All documents and communications concerning the purpose(s) and reason(s) for

 the 2021 Corporate Restructuring and each transaction therein.

        17.     All documents and communications concerning “Project Plato,” including, without

 limitation, all documents and communications containing the term “Plato.”
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                    Talc Creditors Committee (LTL Bankruptcy)

                               Document Custodian List



 Andrew, Chris                   Green, N.                   Mulcahy, Ann M.
 Azevedo, Jose                   Goodbridge, Michelle        Munoz, M.
 Batesko, Peter                  Gorsky, Alex                Murdica, Jim
 Beckerle, Mary                  Haas, Erik                  Neat, Kevin
 Borst, Chuck                    Hewson, Maryllin            Nixon, Randy
 Braunreuther, Joseph            Joly, Hubert                Orlando, Matthew
 Brennan, Sarah                  Kim, John                   Picariello, Christopher
 Cnossen, Valeria                Kerrane, Peter              Prince, Charles O.
 Coulson, V.                     Kowlalski, Steve            Purple Strategies
 Davis, D.Scott                  Kozak, J                    Rivera, Stephen
 Davis, Ian E.L.                 Larkin, M.                  Romanko, Lisa
 DeCandia, Leonardo              Lawrence, Alyson            Ruh, Paul
 Decker, Robert J. Jr.           Lisman, Adam                Ryan, Michelle
 Devine, K.                      Manfre, K.                  Schneider, Mark
 Deyo, Russell                   McCann, Tom                 Sneed, Michael
 Dickinson, Richard              McClellan, Mark B.          Spellman, Thomas
 Doudna, Jennifer A.             McKeegan, John              Stanzione, C.
 Duato, Jaoquin                  McGraw, D.                  Stoffels, P.
 Freinberg, Tony                 McGraw, Donny               Taubert, Jennifer
 French, Tina                    Mongon, Thibaut             Telofski, Lorena
 Freyne, L.                      Montagnino, K.              Turk, Catherine
 Giacino, Laura                  Morano, S.                  Ullman, Michael
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 Van Arsdale, Duane
 Vertenten, M.
 Washington, Eugene
 Weingrod, Louise
 Weinberger, M.
 West, Nadja
 Williams, Ronald A.
 White, A.
 Widmer, Kathy
 Wolk, Joseph
 Wuesthoff, Bob
 Zavis, Phillip
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B256 (Form 256 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (12/13)
                                                        Document    Page 22 of 32
                                       UNITED STATES BANKRUPTCY COURT
                                                                      District of New Jersey
In re LTL MANAGEMENT LLC
                                     Debtor
                                                                                      Case No. 21-30589 (MBK)
          (Complete if issued in an adversary proceeding)
                                                                                      Chapter 11
 LTL MANAGEMENT LLC
                                    Plaintiff
                      v.                                                              Adv. Proc. No. 21-03032 (MBK)
THOSE PARTIES LISTED ON APPENDIX A TO
COMPLAINT and JOHN AND JANE DOES 1-1000
                                   Defendant

                                         SUBPOENA TO TESTIFY AT A DEPOSITION
                                  IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)

  To: Purple Strategies LLC, Attn: Records Custodian, 815 Slaters Ln, Alexandria, VA 22314
                                           (Name of person to whom the subpoena is directed)

      Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a deposition to
  be taken in this bankruptcy case (or adversary proceeding). If you are an organization, you must designate one or more
  officers, directors, or managing agents, or designate other persons who consent to testify on your behalf about the following
  matters, or those set forth in an attachment:

  PLACE               BAILEY & GLASSER LLP                                                                   DATE AND TIME
                      1055 Thomas Jefferson Street NW, Suite 540                                             December 17, 2021 at 4:00EST
                      Washington, DC 20007
  The deposition will be recorded by this method:


   ☒Production: You, or your representatives, must also bring with you to the deposition the following documents,
  electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the material:
  See Attached Exhibit A
       The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
  Date: 12/3/2021
                              CLERK OF COURT

                                                                                      OR             /s/ Daniel M. Stolz
                                     Signature of Clerk or Deputy Clerk                             Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party)
  Official Committee of Talc Claimants for LTL Management, LLC , who issues or requests this subpoena, are:

  Daniel M. Stolz, Esq., Genova Burns LLC, 110 Allen Road, Suite 304, Basking Ridge, NJ 07920, (973) 230-2095,
   dstolz@genovaburns.com
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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B256 (Form 256 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 2)
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                                                                 PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): Purple Strategies LLC, Attn: Records Custodian
on (date) 12/3/2021 .

 X I served the subpoena by delivering a copy to the named person as follows: by UPS and regular mail

                                                        on (date) 12/3/2021                         ; or

    I returned the subpoena unexecuted because:



Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $                                .

 My fees are $                    for travel and $                    for services, for a total of $                  .



          I declare under penalty of perjury that this information is true and correct.

Date: 12/3/2021
                                                                                     /s/ Daniel M. Stolz
                                                                                                               Server’s signature

                                                                                      Daniel M. Stolz, Esq., local counsel for Official
                                                                                      Committee of Talc Claimants for LTL Management LLC
                                                                                                              Printed name and title


                                                                                     Genova Burns LLC
                                                                                     110 Allen Road, Suite 304
                                                                                     Basking Ridge, NJ 07920
                                                                                                                Server’s address


Additional information concerning attempted service, etc.:
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B256 (Form 256 – Subpoena to Testify at a Deposition in a Bankruptcy Case or Adversary Proceeding) (Page 3)
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                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                      (ii) disclosing an unretained expert's opinion or information that does
                                                                                        not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                           (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                   described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                              modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly            conditions if the serving party:
transacts business in person, if the person                                                    (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                           be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                      (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                                compensated.

  (2) For Other Discovery. A subpoena may command:                                      (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,              (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                          procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                        information:
                                                                                            (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                        documents must produce them as they are kept in the ordinary course of
                                                                                        business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                        the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                            (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                        Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                        electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                        a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                        usable form or forms.
party or attorney who fails to comply.
                                                                                            (C) Electronically Stored Information Produced in Only One Form. The
                                                                                        person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                        information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                            (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                        responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                        from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                        of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                        order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                        reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                        made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                        requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                        26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                             (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                        information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                        trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                               (i) expressly make the claim; and
order compelling production or inspection.
                                                                                               (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                        or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                        privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                             (B) Information Produced. If information produced in response to a
                                                                                        subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                        preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                        received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                        notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                        information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                        until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                        information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                        promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                        where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                        who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                        is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                        …
motion, quash or modify the subpoena if it requires:
                                                                                        (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                        also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                        a person who, having been served, fails without adequate excuse to obey
                                                                                        the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                          Exhibit A


         Pursuant to Rule 45 of the Federal Rules of Civil Procedure, made applicable to this

 contested matter by Rule 9016 of the Federal Rules of Bankruptcy Procedure, the Official

 Committee of Talc Claimants, by its proposed counsel, hereby requests the production of the

 specified documents below by electronic means to Bailey & Glasser LLP, 923 Haddonfield Road,

 Suite    300,    Cherry    Hill,   NJ   08002,    attention:   Katherine    E.   Charonko,     Esq.,

 kcharonko@baileyglasser.com.

         All documents produced in response to this subpoena should be produced in native file

 format. If You determine that You cannot comply with the production of documents in a native

 file format, You shall promptly inform the requesting party why compliance is impracticable and

 meet and confer to establish a reasonably useable format for production.


                                          DEFINITIONS

         1.      The “First Day Declaration” shall refer to the Declaration of John K. Kim in

 Support of First Day Pleadings, dated October 14, 2021, filed in the main bankruptcy case as Dkt.

 No. 5 and is included with these requests.

         2.      “You,” “Your” and “Yours” shall refer to the entity to whom this subpoena is

 directed as well as the entity’s present and former parents, subsidiaries, affiliates, directors,

 officers, members, managers, employees, agents, attorneys and representatives, and every other

 person acting on their behalf.

         3.      “Debtor” shall refer to LTL Management LLC, the debtor in this case.

         4.      Unless otherwise defined herein, capitalized terms shall have the meanings ascribed

 to them in the First Day Declaration, except that any capitalized term in the First Day Declaration

 referring to an entity, here, shall also mean that entity’s present and former parents, subsidiaries,

 affiliates, directors, officers, members, managers, employees, agents, attorneys and

 representatives, and every other person acting on their behalf.
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       5.      The term “document” is defined to be synonymous in meaning and equal in scope

 to the usage of the term “documents or electronically stored information” in Fed. R. Civ. P.

 34(a)(1)(A), and includes without limitation electronic data, electronic databases, electronic

 media, the original and any draft, version or copy which differs in any way from the original of

 any written or graphic matter, however produced or reproduced, of any kind or description,

 whether sent or received (or neither), and it shall include, without limitation, any paper, book,

 account, minutes, photograph, agreement, contract, memorandum, advertising material, letter,

 e-mail (or other electronic communication), any written, printed, typed, photostatic,

 photographed, recorded, computer-generated, computer-stored, or otherwise maintained or

 reproduced communication or representation, any database or data compilation in any form,

 whether comprised of letters, words, numbers, pictures, sounds, bytes, e-mails, electronic signals

 or impulses, electronic data, active files, deleted files, file fragments, or any combination thereof

 including, without limitation, all memoranda, notes, records, letters, envelopes, emails,

 voicemails, telegrams, messages, studies, analyses, contracts, agreements, projections, estimates,

 working papers, accounts, analytical records, reports and/or summaries of investigations,

 opinions or reports of consultants, opinions or reports of experts, opinions or reports of

 accountants, other reports, trade letters, press releases, comparisons, books, diaries, articles,

 magazines, newspapers, booklets, brochures, pamphlets, circulars, bulletins, notices, forecasts,

 drawings, diagrams, instructions, minutes or meetings, correspondence, and communications of

 any type (including, but not limited to, video files, audio files, inter- and intra-office

 communications), questionnaires, surveys, charts, graphs, photographs, phonographs, films,

 webcasts, presentations (e.g. Microsoft PowerPoint), tapes, discs, data cells, drums, printouts, all

 other compiled data which can be obtained (translated, if necessary, through intermediary or other

 devices into useable forms), documents maintained on, stored in or generated on any electronic

 transfer or storage system, any preliminary versions, drafts or revisions of any of the foregoing,

 electronically stored information (of any kind), object, report, record, summary accounting,

 transcript, study, notation, working paper, interoffice or intraoffice communication, charts or
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 minutes, index sheet, computer software, check, check stub, ledger entry, delivery ticket, bill of

 sale, invoice, recording of telephone or other conversations (or of interviews or conferences), or

 any written, recorded, transcribed, punched, taped, filmed or other graphic matter or data

 compilations, however produced or reproduced, to which the Debtor has access or of which the

 Debtor is aware .and other writings or documents of whatever description or kind, whether

 produced or authorized by or on behalf of Debtor or anyone else, and shall include all non-

 identical copies and drafts of any of the foregoing now in the possession, custody or control of

 Debtor, or the former or present directors, offices, counsel, agents, employees, partners,

 consultants, principals, and /or persons acting on Debtor behalf.

       6.         The term “all documents” means every document, whether an original or copy,

 known to you or which you can locate or discover by reasonably diligent effort, within your

 custody, possession or control, or the custody, possession or control of your present or former

 attorneys, accountants, insurance carriers, representatives, employees and/or agents.

       7.         The term “communication” means the transmittal of information (in the form of

 facts, ideas, inquiries or otherwise) including but not limited to any oral or written transmittal

 and/or receipt of facts, information, thoughts, inquiries, opinions, including, without limitation,

 meetings, conversations in person, telephone conversations, records of conversations or

 messages, telegrams, telexes, facsimile transmissions, electronic mail transmissions, letters,

 reports, memoranda, formal statements and press releases, and newspaper stories. References to

 communications with business entities shall be deemed to include all officers, directors,

 employees, agents, attorneys, accountants, consultants, independent contractors, or other

 representatives of such entities.

       8.         The term “all communications” shall mean each and every communication,

 whether an original or copy, known to you or which you can locate or discover by reasonably

 diligent effort, within your custody, possession or control, or the custody, possession or control

 of your present or former attorneys, accountants, insurance carriers, representatives, employees

 and/or agents.
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       9.      The term “electronic data,” “electronic database,” “database” and “data” mean the

 original (native electronic format) and any non-identical copies (whether non-identical because

 of notes made on copies or attached comments, annotations, marks, transmission notations, or

 highlighting of any kind) of writings of every kind and description whether inscribed by

 mechanical, facsimile, electronic, magnetic, digital, or other means. Such terms include, by way

 of example only, computer programs (whether private, commercial or works-in-progress),

 programming notes or instructions, activity listings or electronic mail receipts and /or transmittals,

 output resulting from the use of any software program, including word processing documents,

 spreadsheets, database files, charts, graphs and outlines, electronic mail, operating systems,

 source code of all types, peripheral drivers, PID files, batch files, ASCII files, and any and all

 miscellaneous files and/or file fragments, regardless of the media or which they reside and

 regardless of whether said electronic data consists of an active file, deleted file or file fragment.

 Such terms include any and all items stored on computer memories, hard disks, floppy disks, CD-

 ROMS, removable media such as zip drives, USB drives, storage cartridges, Bernoulli Boxes and

 their equivalent, magnetic tapes of all types, microfiche, punched cards, punched tape, computer

 chips, including, but not limited to, EPROM, PROM, RAM and ROM, on or in any other vehicle

 for digital data storage and/or transmittal. Such terms also include the file, folder tabs and/or

 containers and labels appended to, or associated with, any physical storage device associated with

 each original and/or copy.

       10.     The term “electronic media” means any magnetic or other storage media device

 used to record electronic data. Electronic media devices may include computer memories, hard

 disks, floppy disks, CD-ROM, removable media such as Bernoulli Boxes and their equivalent,

 magnetic tapes of all types, microfiche, punched cards, punched tape, computer chips, including,

 but not limited to, EPROM, PROM, RAM and ROM, or on or in any other vehicle for digital data

 storage and /or transmittal.

       11.     The term “native electronic format” shall mean and refer the state of an electronic

 file as it presently exists on any and all computers, electronic media devices and networks or any
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 other location where data may be stored (including back-up servers, deleted folders, hidden

 folders, etc.), with all of the file’s original metadata intact, meaning that the metadata fields have

 not been altered, deleted, updated or modified in any way.

        12.     The term “network” means any hardware and /or software combination that

 connects two or more computers together and which allows the computers to share and/or transfer

 data between them. For the purposes of this definition, the connection between or among the

 computers need not be either physical or direct, i.e., wireless networks, and sharing and/or

 transferring data via indirect routs utilizing modems and phone company facilities. In addition,

 there need not be a central file or data server nor a central network operating system in place, i.e.

 peer-to-peer networks and networks utilizing a mainframe host to facilitate data transfer.

        13.     The term “computer” means all devices utilizing microchips to facilitate

 processing, analysis or storage of data, including microcomputers (as known as personal

 computers), laptop computers, portable computers, notebook computers, palmtop computers (as

 known as personal digital assistants or PDA’s), minicomputers and mainframe computers.

 “computer system,” when used in reference to any computer, includes the following information:

 (a) the computer type, brand, and model, and (b) the brand and version of all software, including

 the operating system, private- and custom-developed applications, commercial applications

 and/or shareware.

        14.     The terms “concern” or “concerning” shall mean refer to, allude to, related to,

 connected with, in respect of, about, regarding, discussing, showing, evidencing, describing, in

 support of, in substitution of, reflecting, and analyzing.

        15.     The term “person” is defined as any natural person or any legal entity, including,

 without limitation, any business or governmental entity or association, a group of natural persons

 acting in a collegial capacity (e.g., as a committee, board of directors), an entity, including without

 limitations sole proprietorship, firm, association, company, partnership, joint venture corporation

 or division or subsidiary thereof, trust, estate, and other incorporated or unincorporated business.
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            16.   “Motion” shall refer to the TCC’s Motion to Dismiss the Debtor’s Chapter 11 Case

 pursuant to § 1112(b).

            17.   The “Adversary Proceeding” refers to the adversary proceeding captioned, LTL

 Management LLC v. Those Parties Listed on Appendix A to Complaint and John and Jane Does

 1 – 1000, Adv. Pro. No. 21-03032 MBK, now pending in the United States Bankruptcy Court for

 the District of New Jersey.

            18.   The “2021 Corporate Restructuring” shall refer, individually and collectively, to

 the series of corporate or company transactions and filings, whenever they occurred, that

 culminated in the formation, capitalization and/or re-domiciling of the Debtor and New JJCI on

 or about October 12, 2021, involving all entities and transactions that resulted in the division of

 Chenango Zero LLC (“Chenango Zero”) into the Debtor and New JJCI as described in Section II

 of the First Day Declaration.

            19.   Plural words include the singular equivalent, and singular words include the plural

 equivalent.

            20.   The term “and” includes the disjunctive “or,” and “or” includes the conjunction

 "and."

                                          INSTRUCTIONS

            1.    If a claim of privilege is asserted in any objection to any document request or

 portion thereof, and documents are withheld on the basis of that assertion of privilege, the

 objection shall comply with Local Bankruptcy Rule 7026-1 and, in addition, identify:

       a.         the nature of the privilege being claimed and, if the privilege is being asserted in

 connection with a claim or defense governed by state law, the state’s privilege rule being invoked;

 and

       b.          (i) the type of document; (ii) the general subject matter of the document; (iii) the

 date of the document; and (iv) such other information as is sufficient to identify the document for

 a subpoena duces tecum, including, where appropriate, the author of the document, the addressee
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 of the document, and, where not apparent, the relationship of the author to the addressee, and the

 names of all entities that received a copy of the document.

           2.   A request for a document shall be deemed to include a request for all transmittal

 sheets, cover letters, transmittal emails, exhibits, enclosures and attachments to the document, in

 addition to the document itself.

           3.   A request for a document shall be deemed to include a request for all drafts,

 revisions, modifications, versions and supplements thereof, in addition to the original document

 itself.

           4.   The masculine or feminine gender of any word shall be construed to include the

 masculine, feminine and neuter genders.

           5.   The past tense of any verb shall embrace and be applied as the present tense, or the

 context requires or as applicable, and vice versa.

           6.   Each request is to be construed and considered to act independently, and is not to

 be referenced to any other request for purposes of limitation.

           7.   These requests are intended to cover all documents (including, without limitation

 electronically stored information), wherever located, in your possession, custody or control,

 including, without limitation, all documents in the personal possession of any agent, attorney,

 servant, employee, officer, director, affiliate, subsidiary, corporate parent, expert and other

 representative of yours, and any other person or entity from which you may obtain documents.

                                    REQUESTS FOR PRODUCTION
           1.   All documents and communications concerning services or research performed by

 You for Debtor, J&J or any other J&J entity concerning talcum powder products, talcum powder

 litigation or the 2021 Corporate Restructuring from January 1, 2020 through the present.

           2.   Copies of all presentations and drafts of presentations prepared by You for Debtor,

 J&J or any other J&J entity concerning talcum powder products, talcum powder litigation or the

 2021 Corporate Restructuring from January 1, 2020 through the present.
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       3.        Any engagement letters or services agreements between You, on the one hand, and

 the Debtor, J&J or any other J&J entity on the other, and any drafts, exhibits, schedules,

 amendments or modifications thereto.

       4.        All documents or communications concerning the purpose(s) or reason(s) for the

 2021 Corporate Restructuring and each transaction therein.

       5.        All documents or communications concerning any reasons for the timing of the

 filing of the Debtor’s bankruptcy case, including, but not limited to, any connection of the

 bankruptcy filing to (a) the Robert Ingham et al. v. Johnson & Johnson, et al. or (b) J&J’s

 announced spinoff of its consumer health business.

       6.        All communications, at any time during the period of March 1, 2021 through

 October 31, 2021, inclusive, between You and any person at J&J, Janssen Pharmaceuticals, Inc.,

 Old JJCI, New JJCI, the Debtor, or any other subsidiary of J&J containing any of the terms

 “bankruptcy,” “bankrupt,” “bk” “talc”, “talcum powder”, “ovarian cancer,” “meso,”

 “mesothelioma,” “cancer,” “baby powder,” “Project Plato,” “Plato,” “stock performance,” “stock

 price,” “market,” “reaction,”, “fraud” “fraudulent,” “two-step,” “Chenango,” “Currahee,”

 “divisive merger”, “automatic stay,” “funding agreement,” “LTL,” “liability management,” or

 “injunction.”

       7.        Any non-disclosure or consulting agreements signed by You related to the 2021

 Corporate Restructuring or any aspect of “Project Plato” from January 1, 2020 to the present.
